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                    FORMAL SETTLEMENT AND RELEASE AGREEMENT

This agreement is entered into by and between David G. Baker, Esq. (hereinafter referred to as
 Baker located at 236 Huntington Ave, Ste 306, Boston 02115, and Andre Bisasor (hereinafter
             Bisasor with an address of 119 Drum Hill Rd, Unit #233, Chelmsford MA, 01824.


NOW, THEREFORE, in consideration of the mutual promises and covenants set forth below and
other good and valuable consideration, the sufficiency of which is hereby acknowledged, the parties
agree as follows:

                                            Recital of Facts

    A.      Baker represented Bisasor as counsel of record in the United States Bankruptcy Court for
            the District of Massachusetts in a Chapter 13 proceeding entitled In re Andre Bisasor,
            Docket No. 15-13369. The representation began on September 16, 2015.
    B.      On January 4, 2016, Baker filed a Motion to Withdraw and an Application for
            Compensation.
    C.
            under Chapter 7.
    D.      In the Application for Compensation, Baker alleged that Bisasor is liable to Baker for unpaid
            legal fees in the amount of $12,374.57.
    E.      Bisasor denies the allegations.
    F.      No fraud or malicious injury by Bisasor was alleged by Baker
            Withdraw or Application for Compensation.
    G.                                            Application for Compensation, Bisasor also filed, pro se,
            several filings in the bankruptcy court, requesting extension of time to either respond to or
            object to the Application for Compensation, wherein Bisasor disputed the allegations, in lieu
            of a formal objection that was to be submitted after appearance of successor counsel.
    H.      On March 30, 2016, successor counsel entered an appearance on behalf of Bisasor.
    I.      On May 9, 2016, t
            Compensation.
    J.      On June 27, 2016, Baker commenced an Adversary Proceeding in the United States
            Bankruptcy Court against Bisasor, entitled Baker v. Bisasor, Docket No. 16-01114, seeking
            non-                                                     , with his non-dischargeability claim
            including allegations of fraud and malicious injury by Bisasor, based on a statement made
            by Bisasor in his January 6, 2016 motion for extension of time to object to
            application for compensation (that Baker filed on January 4, 2016). As referenced by Baker,
            the comment made by Bisasor in his Notice of Intent to File a Response to Motion to
                                                                                                          I
            never signed the retainer agreement because I objected to it as it did not reflect our verbal
            agreement, not because of an oversight as he claims he never presented the written
                                                                                                     .
    K.                          to the above is that the statement made in his January 6, 2016 filing was
            misunderstood, not taken in proper context and was not intended to mean what Baker
            ascribed to it; that Bisasor relied on an understanding that there was a flat fee arrangement
            agreed to verbally by Baker for $3500 at the time of the initiation of the representation; that
            Bisasor paid $500 to Baker as an upfront retainer and that the remainder of approx. $3000
            was to be paid through the Chapter 13 plan; that no written contract was ever executed by
            the parties stating anything contrary to the verbal agreement described above by Bisasor;
            that the chapter 13 plan submitted to the court by Baker and signed by Bisasor reflected an
            intent by Bisasor to pay the remainder; that a first payment of $150 was also made to the
            Chapter13 trustee to be administered through the chapter 13 plan reflecting further intent by
            Bisasor to pay the remainder; that there were certain deficiencies in the representation by
            Baker including those due to the illness and hospitalizations of Baker; that the accuracy and
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                validity of the billing records is disputed; and that due to a breakdown in communications
                that later ensued between the parties, the chapter 13 plan was not finalized/approved by the
                court, and that the conversion to chapter 7 was made in good faith, which then subjected Mr.
                          remaining fees to discharge; and that ultimately, given all of the foregoing, there
                was no fraud or malicious injury.
                against Baker, the value of which (Bisasor asserts) outweighs any claims for fees that Baker
                may have against Bisasor.
       L.       Prior to the filing of a responsive pleading in the Adversary Proceeding, the Parties agreed to
                mediate.
       M.       Mediation was conducted September 27, 2017.
       N.       The parties have reached an agreement set forth herein, including that the fee to be paid to
                Baker is $2800, and including that there was no fraud or malicious injury and that there
                was a misunderstanding between them. The parties also acknowledge that, by agreement1
                between Bisasor and the Landlord, there was no eviction of Bisasor, despite what was
                previously asserted in the adversary proceeding complaint.

                                                    Agreement

       1. The foregoing recitals are an integral part of this Agreement and are mutually
          acknowledged as true and accurate. No liability or fault is hereby admitted by any party.

       2. Settlement Amount. Bisasor agrees that Baker is to be paid the total sum of $2,800.00, in full
                                                                           terms and schedule set forth
          below.

       3. Payment schedule. Bisasor agrees to pay Baker a first installment in the sum of $1,400.00
          upon approval by the Court of this Agreement,
          Huntington Ave., Ste 306, Boston, MA 02115. Within 7 days of approval by the Court of this
          agreement, Baker agrees to amend his Application for Administrative Claim (Doc. No. 199)
          and his Application for Compensation (Doc. No. 119), both currently pending before the
          United States Bankruptcy Court in Docket No. 15-13369, to reflect that the balance that
          remains due is $1,400.00 after the receipt of the first installment, and to seek payment of that
          amount from the Chapter 7 estate of In re Andre Bisasor, Docket No. 15-13369, administered
          by Trustee John Aquino. If there is an objection by the Chapter 7 Trustee to payment of the

            objection. Baker shall ensure a good-faith effort to secure the remaining $1400 from the
            Chapter 7 estate. To the extent that there are not sufficient funds in the Chapter 7 estate to pay
            the remaining balance of $1,400.00, Bisasor agrees to pay any deficiency, up to $1,400.00,

            within 14 days of the conclusion of any pending litigation resulting from an objection from the
            Chapter 7 Trustee, if any).

       4. Mutual Releases. Except for any rights contained or preserved by this Agreement, in
          consideration of the undertakings, transactions and consideration recited in this Agreement,
          Baker, on behalf of himself and his agents, attorneys, representatives and assigns, hereby
          releases and forever discharges Bisasor and his respective agents, servants, employees,
          representatives, heirs, attorneys, successors, administrators, assigns, and next of kin from any
          and all actions, causes of action, claims and demands whether presently known or unknown,
          and whether patent or latent for, upon, or by reason of any damage, loss, injury or suffering in
          being heretofore or which hereafter may be, sustained by Baker, his agents, attorneys,
          representatives and assigns, next of kin or any other person or persons having legal interest


1
    See attached Exhibit 1- Credit Letter from Landlord.
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    therein, in connection with the facts, disputes and issues summarized in paragraphs A through
    N above.

5. Mutual Releases, Cont. Except for any rights contained or preserved by this Agreement, in
   consideration of the undertakings, transactions and consideration recited in this Agreement,
   Bisasor, on behalf of himself and his agents, attorneys, representatives and assigns, hereby
   releases and forever discharges Baker and his respective agents, servants, employees,
   representatives, heirs, attorneys, successors, administrators, assigns, and next of kin from any
   and all actions, causes of action, claims and demands whether presently known or unknown,
   and whether patent or latent for, upon, or by reason of any damage, loss, injury or suffering in
   being heretofore or which hereafter may be, sustained by Bisasor, his agents, attorneys,
   representatives and assigns, next of kin or any other person or persons having legal interest
   therein, in connection with the facts, disputes and issues summarized in paragraphs A through
   N above.

6. Resolution of All Claims. Upon signing this agreement, the parties are released from all or
   any possible indebtedness, for any reason, known or unknown, from the beginning of time to
   the date this agreement is approved by the bankruptcy court including but not limited to
                                           releases are intended to be a global resolution of all
   matters between them. This settlement reflects resolution of disputed legal claims but does not
   represent an actual discharge of indebtedness.

7. Dismissal of Adversary Proceeding. Upon approval of this Agreement by the bankruptcy
   court, Baker will dismiss the Adversary Proceeding entitled Baker v. Bisasor, Docket No. 16-
   01114, pending in the United States Bankruptcy Court for the District of Massachusetts,
   pursuant to Fed. R. Bankr. Pro 7041(a)(1)(A). The stipulation of dismissal will state that the
   Proceeding is dismissed with prejudice upon the terms and conditions stated in this agreement.
   The stipulation of dismissal of the proceeding also shall exactly include the following
   statement: the Parties, through discussion and mediation, agree that there was a
   misunderstanding between them, and that there was no fraud or malicious injury; The Parties
   also acknowledge that there was no eviction of Bisasor, as a result of a settlement agreement
   between Bisasor and the Landlord; and the Parties agree to dismiss all claims with prejudice,
   neither party admitting fault The dismissal shall be signed by both Parties and filed within 7
   days of the approval by the bankruptcy court of this agreement. No court or administrative
   agency has made any finding as to the merits of the allegations in the adversary proceeding,
   and neither party has admitted any allegations by the other party.

8. Non-disparagement. The Parties agree not to make any statements, written or verbal, or
   cause or encourage others to make any statements, written or verbal, that defame, disparage or
   in any way criticize the personal or business reputation, practices, or conduct of any other
   Party, in any fashion, whether in print, on the internet or any website, and verbally. Any such
   statements made heretofore shall be immediately repudiated by the party that made them. The
   Parties understand and agree that this Paragraph is a material provision of the Agreement and
   that any breach of this Paragraph shall be a material breach of this Agreement, and that each
   Party would be irreparably harmed by violation of this provision. The Parties agree, however,
   that nothing in this provision shall prevent the Parties from providing truthful testimony in any
   legal proceeding where such testimony is solicited through a valid legal process by a third
   party.

9. Costs: Each party shall bear their own costs.

10. Governing Law. This agreement is governed by the law of the Commonwealth of
    Massachusetts and the parties acknowledge that Massachusetts will be the proper venue if
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/s/ David G. Baker
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                            Exhibit 1

                Credit Letter from Landlord
  Showing That There Was No Eviction of Bisasor
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